Case 2:24-cr-00091-ODW Document 43 Filed 02/26/24 Pagelof1 Page ID #:913

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, LA [JRS [)SA_ DATEFILED: 2/14/2024

Alexander Smirnov

PLAINTIFF | CASENUMBER: 2:24-cr-00091-ODW _[[] Under Seal

INIT. APP. DATE: 2/26/2024 TIME: 9:00 AM

CHARGING DOC: Indictment

DEFENDANT STATUS: In Custody

(_] PREVIOUSLY CALENDARED HOSPITALIZED DEFENDANT.

D ANT. : F j
EFENDAN aE 18:1001.F; 18:1519.F

COURTSMART/REPORTER: CS 02/26/2024

PROCEEDINGS HELD BEFORE UNITED STATES CALENDAR/PROCEEDINGS SHEET
MAGISTRATEJUDGE Otis D. Wright LOCAL/OUT-OF-DISTRICT CASE

PRESENT: Sheila English Sean F Mulryne WA

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Deputy Clerk Assistant U.S, Attorney Interpreter / Language
INITIAL APPEARANCE NOT HELD - CONTINUED
Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).

Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
O preliminary hearing OR DJ removal hearing / Rule 20,

Defendant states true name PL.is as charged [1 is

Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are
directed to file all future documents reflecting the true name as stated on the record.

Defendant advised of consequences of false statement in financial affidavit. All financial affidavits must be filed under seal.
Attorney: David Z Chesnoff Retd. O Apptd.O Prev. Apptd. 1 DFPD TL Panel (1 Poss. Contribution

Ordered (see separate order) [] Special appearance by:
Government's request for detention is: KJGRANTED TJDENIED LIWITHDRAWN [CONTINUED

Contested detention hearing is held. 1] Defendant is ordered: LJPermanently Detained JTemporarily Detained (see separate order)
BAIL FIXED AT $ (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: [] GRANTED [ DENIED

Preliminary Hearing waived. (Class B Misdemeanor Ci Defendant is advised of maximum penalties

This case is assigned to Magistrate Judge . Counsel are directed to contact the clerk for the setting
of all further proceedings.

PO/PSA WARRANT [ Counsel are directed to contact the clerk for District Judge for the
setting of further proceedings.

Preliminary Hearing set for at _in Los Anaeles
Post-Indictment Arraignment set for: at in Los Anaeles
Government’s motion to dismiss case/defendant only; [J1GRANTED [DENIED
Defendant’s motion to dismiss for lack of probable cause: GRANTED [DENIED

Defendant executed Waiver of Rights. L] Process received.
Court ORDERS defendant Held to Answer to District of

CO) #Bond to transfer, if bail is posted. Defendant to report on or before
( Warrant of removal and final commitment to issue. Date issued: By CRD:
(1 Warrant of removal and final commitment are ordered stayed until
Case continued to (Date) (Time) O AM/()PM

Type of Hearing: Before Judge /Duty Magistrate Judge.
Proceedings will be held in the LJ Duty Courtroom C0 Judge’s Courtroom

Defendant committed to the custody of the U.S. Marshal T] Summons: Defendant ordered to report to USM for processing.
Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.

Abstract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.
Electronic Release Order issued (if issued using Release Book: Release Order No. ).

Other: YJ & hld §ee Sepovate order

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Deputy Clerk Initials SE
RECEIVED: () PSA [[]PROBATION [] FINANCIAL qh CR-10 i READY 7 2 ( :
: QO

M-5 (10/23) CALENDAR/PROCEEDINGS SHEET - LOCAL/OUT-OF-DISTRICT CASE Page 1 of |
